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19

20                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
21                                 SAN FRANCISCO DIVISION

22   ORACLE AMERICA, INC.                                Case No. CV 10-03561 WHA

23                     Plaintiff,                        REQUEST AND [PROPOSED]
                                                         ORDER REGARDING
24          v.                                           COURTROOM EQUIPMENT FOR
                                                         APRIL 6, 2011 TUTORIAL
25   GOOGLE INC.
                                                         Date: April 6, 2011
26                     Defendant.                        Time: 1:30 p.m.
                                                         Dept.: Courtroom 9, 19th Floor
27                                                       Judge: Honorable William H. Alsup

28
     REQUEST AND [PROPOSED] ORDER REGARDING COURTROOM EQUIPMENT FOR APRIL 6, 2011 TUTORIAL
     CASE NO. CV 10-03561 WHA
     pa-1456627
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 1          Plaintiff Oracle America, Inc. (“Oracle”) respectfully requests permission, pursuant to
 2   General Order No. 58, for the parties to bring into Courtroom 9 the following equipment into the
 3   courthouse, and to possess and use that equipment in the courtroom during the Claim
 4   Construction Technical Tutorial, scheduled for Wednesday, April 6, 2011, at 1:30 p.m.
 5          The specific devices are as follows:
 6          1.      2 20" LCD Monitors
 7          2.      2 50" Plasma Screens
 8          3.      2 Dual Post Stands
 9          4.      1 data projector
10          5.      1 7.5'x10' projector screen
11          6.      1 visual presenter
12          7.      1 video switch box
13          8.      4 cart / stands
14          9.      up to eight laptop computers
15          10.     cables, peripherals, and power cords for the foregoing equipment
16

17          The parties are coordinating their efforts and will share the presentation equipment.
18          Oracle further requests the Court’s permission for the parties to set up their respective
19   electronic devices in the courtroom on Wednesday, April 6, 2011, at 12:00 p.m., or at such time
20   the Court may specify, to facilitate the timely and orderly conduct of the hearing.
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     REQUEST AND [PROPOSED] ORDER REGARDING COURTROOM EQUIPMENT FOR APRIL 6, 2011 TUTORIAL              1
     CASE NO. CV 10-03561 WHA
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 1
     Dated: April 4, 2011                        MICHAEL A. JACOBS
 2                                               MARC DAVID PETERS
                                                 MORRISON & FOERSTER LLP
 3

 4                                               By: /s/ Marc David Peters
 5
                                                        Attorneys for Plaintiff
 6                                                      ORACLE AMERICA, INC.
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 8
                                                ORDER
 9
            For good cause shown, the foregoing requests are GRANTED.
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     IT IS SO ORDERED.
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     DATED: April __, 2011
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                                                   THE HONORABLE WILLIAM H. ALSUP
15                                                      United States District Judge

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     REQUEST AND [PROPOSED] ORDER REGARDING COURTROOM EQUIPMENT FOR APRIL 6, 2011 TUTORIAL   2
     CASE NO. CV 10-03561 WHA
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